                  Case 4:11-cr-00290-LPR                       Document 578        Filed 12/01/14           Page 1 of 7
A0245D       (Rev. 09/11) Judgment in a Criminal Case for Revocations
             Sheet 1
                                                                                                                          FILED
                                                                                                                EAST U.S. DISTRICT COU
                                      UNITED STATES DISTRICT COURT                                                     ERNoisn~lcr11RiJ~SAs
                                                          Eastern District of Arkansas                  JAM~~DEC
                                                                                                            0 1 2014
          UNITED STATES OF AMERICA                                       Judgment in a Criminal c§¥e-                                         ERK
                             v.                                          (For Revocation of Probation or Supervised Reiease)0LERK
               SHANNON PIITMAN

                                                                         Case No. 4:11CR00290-13 JLH
                                                                         USM No. 27010-009
                                                                          Arkie Byrd
                                                                                                 Defendant's Attorney
THE DEFENDANT:
~ admitted guilt to violation of condition(s)           General, Standard, Special       of the term of supervision.
D   was found in violation of condition(s)             _ _ _ _ _ _ _ _ _ _ after denial of guilt.

The defendant is adjudicated guilty of these violations:


Violation Number                                            Nature of Violation                                 Violation Ended
General                           Violation of federal, state, or local law                                  10/23/2014

General                           Unlawful use of a controlled substance                                     07/11/2014
Standard                          Association with persons engaged in criminal activity                      10/24/2014
Special                           Failure to participate in substance abuse treatment as directed            09/22/2014
       The defendant is sentenced as provided in pages 2 through _ _
                                                                   7 __ of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
D   The defendant has not violated condition(s) - - - - - - - a n d is discharged as to such violation(s) condition.

          It is ordered that the defendant must notify the United States attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are
fully pa~d. ~f ordered to pay restitution, the defendant must notify the court and United States attorney of material changes m
econotnlc ctrcumstances.

Last Four Digits of Defendant's Soc. Sec. No.: 0741                       12/01/2014

Defendant's Year of Birth:           1978

City and State of Defendant's Residence:
Cherokee Village, Arkansas
                                                                          J. Leon Holmes                                U.S. District Judge
                                                                                                Name and Title of Judge

                                                                          12/01/2014
                                                                                                         Date
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AO 2450    (Rev. 09/11) Judgment in a Criminal Case for Revocations
           Sheet lA

                                                                                             Judgment-Page
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                                                                                                              2_ of      7
DEFENDANT: SHANNON PITTMAN
CASE NUMBER: 4: 11 CR00290-13 JLH

                                                      ADDITIONAL VIOLATIONS

                                                                                                                 Violation
Violation Number               Nature of Violation                                                               Concluded
Standard                        Not truthfully answering inquiries from probation officer                        10/27/2014

Standard                       Failure to work regularly at a lawful occupation                                  10/29/2014

Standard                        Failure to notify probation officer 10 days prior to change in residence         10/22/2014

Standard                       Failure to submit monthly report as directed                                      06/05/2014
                      Case 4:11-cr-00290-LPR                      Document 578      Filed 12/01/14     Page 3 of 7
 AO 2450       (Rev. 09/11) Judgment in a Criminal Case for Revocations
               Sheet 2- Imprisonment

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  DEFENDANT: SHANNON PITTMAN
  CASE NUMBER: 4: 11 CR00290-13 JLH


                                                                   IMPRISONMENT

           The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total
  total term of :
SIX (6) MONTHS




     'if The court makes the following recommendations to the Bureau of Prisons:
The Court recommends defendant participate in nonresidential substance abuse treatment and mental health treatment
during incarceration.


     D The defendant is remanded to the custody of the United States Marshal.

     D     The defendant shall surrender to the United States Marshal for this district:
           D     at   - - - - - - - - - D a.m.                       D p.m.    on
           D     as notified by the United States Marshal.

     'if The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
           ~ before 2 p.m. on _0_1_1_o_s1_2_0_1s_ _ _ _ _ __

           D     as notified by the United States Marshal.
           D     as notified by the Probation or Pretrial Services Office.

                                                                          RETURN

  I have executed this judgment as follows:




           Defendant delivered on                                                     to

  at - - - - - - - - - - - - - - with a certified copy of this judgment.




                                                                                           UNITED STATES MARSHAL



                                                                              By - - - - DEPUTY
                                                                                         - - -UNITED
                                                                                                - - -STATES
                                                                                                      - - -MARSHAL
                                                                                                            -------
                     Case 4:11-cr-00290-LPR                       Document 578      Filed 12/01/14          Page 4 of 7
  AO 245D      (Rev. 09/11) Judgment in a Criminal Case for Revocations
               Sheet 3 - Supervised Release

                                                                                                     Judgment-Page      4     of          7
  DEFENDANT: SHANNON PITTMAN
  CASE NUMBER: 4: 11 CR00290-13 JLH
                                                               SUPERVISED RELEASE

  Upon release from imprisonment, the defendant shall be on supervised release for a term of:
TWO (2) YEARS



           The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release
  from the custody of the Bureau of Prisons.
  The defendant shall not commit another federal, state or local crime.
  The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
  substance. The defendant shall submit to one drug test within 15 days of release from imprisonment ano at least two periodic drug
  tests thereafter as determined by the court.
  D      The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
         future substance abuse. (Check, if applicable.)
  D      The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if
  D      The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
  D      The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works,
         or is a student, as directed by the probation officer. (Check, if applicable.)
  D      The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
           If this judg!J!ent imposes a fine or restitution, it is be a condition of supervised release that the defendant pay in accordance
  with the Schedule of Payments sheet of this judgment.
           The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional
  conditions on the attached page.

                                              STANDARD CONDffiONS OF SUPERVISION
   1)        the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)         the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
   3)        the. defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation
             officer;
  4)         the defendant shall support his or her dependents and meet other family responsibilities;
  5)         the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training,
             or other acceptable reasons;
  6)         the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)         the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
             controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
   8)        the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
   9)        the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person
             convicted of a felony, unless granted penmssion to do so by the probation officer;
   10)       the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit
             confiscation of any contraband observed in plain view of the probation officer;
   11)       the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law
             enforcement officer;
   12)       the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency
             without the permission of the court; and
   13)       as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the
             defendant's criminal record or personal history or characteristics ana shall permit the probation officer to make such
             notifications and to confirm the defendant's compliance with such notification requirement.
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 AO 245D    (Rev. 09/11} Judgment in a Criminal Case for Revocations
            Sheet 3A- Supervised Release
                                                                                         Judgment-Page   _5_ of _ _7_ _
 DEFENDANT: SHANNON PITTMAN
 CASE NUMBER: 4: 11 CR00290-13 JLH

                                         ADDITIONAL SUPERVISED RELEASE TERMS

14) The first six (6) months of supervised release will be spent in a community confinement facility under the direction of
the United States Probation Office.

15) The defendant will pay her remaining special assessment balance of $75 while in the Bureau of Prisons.

16) All previous conditions of supervised release are reimposed in full force and effect.
                 Case 4:11-cr-00290-LPR                      Document 578              Filed 12/01/14         Page 6 of 7
AO 245D    (Rev. 09/11) Judgment in a Criminal Case for Revocations
           Sheet S - Criminal Monetary Penalties

                                                                                                     Judgment - Page   _...;6:;..__ of   7
DEFENDANT: SHANNON PITTMAN
CASE NUMBER: 4: 11 CR00290-13 JLH
                                                CRIMINAL MONETARY PENALTIES

    The defendant must pay the following total criminal monetary penalties under the schedule of payments set forth on Sheet 6.


                   Assessment                                             Fine                             Restitution
TOTALS         $ 75.00                                                   $ 0.00                          $ 0.00


D   The determination of restitution is deferred until
    entered after such determination.
                                                             ---. An Amended Judgment in a Criminal Case (AO 245C) will be
D The defendant shall make restitution (including community restitution) to the following payees in the amount listed below.
    If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise
    in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfei:leral victims must
    be paid before the United States is paid.

Name of Payee                                        Total Loss*                      Restitution Ordered               Priority or Percentage




TOTALS                                    $._ _ _ _ _ _o.;;....·...;_oo'--      $                      0.00


D    Restitution amount ordered pursuant to plea agreement $

D    The defendant must pay interest on restitution or a fine more than $2,500, unless the restitution or fine is paid in full before the
     fifteenth day after the date of the jud~ent, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be
     subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).


D    The court determined that the defendant does not have the ability to pay interest and it is ordered that:

     D the interest requirement is waived for the               D fine         D restitution.
     D the interest requirement for the            D     fine         D restitution is modified as follows:


*Findings for the total amount oflosses are required under Chapters 109A, 110, llOA, and 113A of Title 18 for offenses committed on
or after September 13, 1994, but before April 23, 1996.
                 Case 4:11-cr-00290-LPR                        Document 578            Filed 12/01/14       Page 7 of 7
AO 2450    (Rev. 09/11) Judgment in a Criminal Case for Revocations
           Sheet 6 - Schedule of Payments

                                                                                                      Judgment -          7_ of
                                                                                                                   Page _ _            7
DEFENDANT: SHANNON PITTMAN
CASE NUMBER: 4: 11 CR00290-13 JLH

                                                        SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties shall be due as follows:

A    D Lump sum payment of$                                           due immediately, balance due

          D not later than                                               , or
          D in accordance with D C,                 D     D,      D E,or        D F below); or
B    D    Payment to begin immediately (may be combined with                    oc,       0 D, or    D F below); or
C    D Payment in equal                       (e.g., weekly, monthly, quarterly) installments of $                    over a period of
                          (e.g., months or years), to commence                (e.g., 30 or 60 days) after the date of this judgment; or

D    D    Payment in equal                 (e.g., weekly, monthly, quarterly) installments of $                    over a period of
                       (e.g., months or years), to commence                (e.g., 30 or 60 days) after release from imprisonment to a
          term of supervision; or

E    D Payment during the term of supervised release will commence within                   (e.g., 30 or 60 days) after release from
          imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay.
F    ~ Special instructions regarding the payment of criminal monetary penalties:

       The $75 special penalty assessment balance will be paid while defendant is in the Bureau of Prisons.




Unless the court has expressly ordered otherwise in the special instruction above, if this judgment imposes imprisonment, payment of
criminal monetary renalties lS due during the period of imprisonment. All criminal monetary penalties, except those payments made
through the Federa Bureau of Prisons' Inmate Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




D    Joint and Several

     Defendant and Co-Defendant Names and Case Numbers (including defendant number), Joint and Several Amount and
     corresponding payee, if appropriate.




D    The defendant shall pay the cost of prosecution.

D    The defendant shall pay the following court cost(s):

D    The defendant shall forfeit the defendant's interest in the following property to the United States:



Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
